         Case 2:20-cv-00509-RAJ Document 23 Filed 03/29/21 Page 1 of 14



 1                                                 The Honorable Richard A. Jones

 2

 3

 4

 5

 6

 7

 8                       UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF WASHINGTON
 9

10   UNITED FEDERATION OF CHURCHES,
     LLC d/b/a THE SATANIC TEMPLE,
11                                          No. 2:20-cv-00509-RAJ

12                      Plaintiff,          DEFENDANTS’ OPPOSITION TO
                                            PLAINTIFF’S MOTION FOR
13              v.                          RECONSIDERATION
     DAVID ALAN JOHNSON, an individual;
14   LEAH FISHBAUGH, an individual;         NOTED ON MOTION CALENDAR:
     MICKEY MEEHAM, an individual; and      March 12, 2021
15   NATHAN SULLIVAN, an individual,

16                      Defendants.

17

18

19

20

21

22

23

24

25

26



     OPPOSITION TO MOTION
     FOR RECONSIDERATION
     No. 2:20-cv-00509-RAJ
          Case 2:20-cv-00509-RAJ Document 23 Filed 03/29/21 Page 2 of 14



 1                                    I.         INTRODUCTION

 2          “Motions for reconsideration are disfavored. The court will ordinarily deny such

 3   motions in the absence of a showing of manifest error in the prior ruling or a showing of

 4   new facts or legal authority which could not have been brought to its attention earlier with

 5   reasonable diligence.” LCR 7(h)(1). The Satanic Temple has not even attempted to meet

 6   these standards. As to the ACPA claim, instead of showing any error The Satanic Temple

 7   proposes a novel and unsupported interpretation of the ACPA—one that would

 8   exponentially expand the ACPA to potentially billions of social media users. The Satanic

 9   Temple’s proposed interpretation is contradicted by the language of the ACPA, its

10   legislative history, case law, and the realities of how the internet and domain names work.

11   There are no grounds for reconsideration of the Court’s correct ruling.

12          The Satanic Temple also fails to establish any grounds for reconsidering dismissal

13   of the defamation claim. Instead of showing a manifest error of law, The Satanic Temple

14   merely offers a conclusory rehash of the same arguments the Court previously considered

15   and rejected. The Satanic Temple’s Motion for Reconsideration should be denied.

16                                         II.    ARGUMENT

17      A. The Satanic Temple has Failed to Show Manifest (or any) Error in Dismissal of
           the ACPA Claim.
18
            1. The ACPA Applies Only to Second-Level Domain Names That Have Been
19             Registered With or Assigned by a Registration Authority.
20          “The paradigmatic harm that the ACPA was enacted to eradicate” is “the practice of

21   cybersquatters registering several hundred domain names in an effort to sell them to the

22   legitimate owners of the mark.” Lamparello v. Falwell, 420 F.3d 309, 318-19 (4th Cir.

23   2005) (quoting Lucas Nursery & Landscaping, Inc. v. Grosse, 359 F.3d 806, 810 (6th Cir.

24   2004)). “The Act was also intended to stop the registration of multiple marks with the hope

25   of selling them to the highest bidder.” Id. Thus, to establish liability for “cyberpiracy” under

26   the ACPA, a plaintiff must prove “(1) the defendant registered, trafficked in, or used a



     OPPOSITION TO MOTION
     FOR RECONSIDERATION
     No. 2:20-cv-00509-RAJ – Page 1
          Case 2:20-cv-00509-RAJ Document 23 Filed 03/29/21 Page 3 of 14



 1   domain name; (2) the domain name is identical or confusingly similar to a protected mark

 2   owned by the plaintiff; and (3) the defendant acted ‘with bad faith intent to profit from that

 3   mark.’” Multifab, Inc. v. ArlanaGreen.com, 122 F. Supp. 3d 1055, 1066 (E.D. Wash.

 4   2015).

 5            As the Court correctly observed, by definition a domain name must be registered by

 6   a domain name registrar or registry. Order at 10 (the ACPA defines “domain name” as “any

 7   alphanumeric designation which is registered with or assigned by a domain name registrar,

 8   domain name registry, or other domain name registration authority as part of an electronic

 9   address on the Internet”) (quoting 15 U.S.C. § 1127). As the Court also noted, numerous

10   courts have defined a “domain name” as consisting of only two parts: a “top-level” domain

11   and a “second-level” domain. Id. (quoting Office Depot Inc. v. Zuccarini, 596 F.3d 696, 698

12   (9th Cir. 2010)). The top-level domain (“TLD”) includes the portion of the domain name to

13   the right of the period, such as .com, .gov, .net, etc. Id. Each TLD is divided into second-

14   level domains identified by the designation to the left of the period, such as “example” in

15   “example.com” or “example.net.” Id. The Court further correctly found that only these two

16   domain levels are covered by the ACPA, and no court has found that the ACPA applies to

17   any URL component beyond top-level and second-level domains. Order at 13 (citing

18   GoForIt Entm’t, LLC v. DigiMedia.com L.P., 750 F.Supp.2d 712, 725 (N.D. Tex. 2010)

19   (“The court has found no case, and [plaintiff] has cited none, that holds that a portion of a

20   web address other than a second or top level domain constitutes a ‘domain name’ within the

21   meaning of the ACPA.”)).

22            The Satanic Temple offers no authority that contradicts either of these two

23   fundamental aspects of the definition of a domain name, i.e., (1) a domain name consists

24   only of a top-level and second-level domain, (2) which is registered with or assigned by a

25   domain name registrar, domain name registry, or other domain name registration authority.

26   Nor has it shown that the Facebook account at issue here meets these required elements—



     OPPOSITION TO MOTION
     FOR RECONSIDERATION
     No. 2:20-cv-00509-RAJ – Page 2
           Case 2:20-cv-00509-RAJ Document 23 Filed 03/29/21 Page 4 of 14



 1   and indeed it does not. The Satanic Temple’s claim is based on a post-domain portion of its

 2   Facebook URL. 1 This part of the URL was not issued by a DNS registry or included on a

 3   DNS registry and is not part of the top-level or second-level domain.

 4            2. The Satanic Temple’s Novel Theory is not Supported by any Authority.

 5            Instead of establishing any error of law, The Satanic Temple argues that the Court

 6   should adopt a novel—and entirely unsupported—interpretation of the ACPA. The Satanic

 7   Temple suggests that under the ACPA, social media companies, such as Facebook, should

 8   be considered domain name registration authorities, and that post-domain URLs issued by

 9   social media companies should be considered domain names under the ACPA. Motion for

10   Reconsideration at 2-5. In addition to being entirely unsupported by the language of the

11   ACPA, its legislative history, and case law, The Satanic Temple’s theory demonstrates a

12   fundamental misunderstanding of how the domain name system works.

13            In brief summary, the internet domain name system (“DNS”) is overseen by an

14   entity called the Internet Corporation for Assigned Names and Numbers (“ICANN”). 2

15   ICANN is a not-for-profit corporation formed in 1998 and selected by the U.S. Department

16   of Commerce to administer the internet DNS with input from a governmental advisory

17   committee, in which the U.S. Department of Commerce participates. Vizer v.

18   VIZERNEWS.COM, 869 F. Supp. 2d 75, 77-78 (D.D.C. 2012) (citing ICANN, National

19   Telecommunications & Information Administration, U.S. Department of Commerce,

20   http://www.ntia.doc.gov/category/icann). The DNS links user-friendly names, such as

21   “uscourts.gov,” to unique numeric addresses that identify servers connected to the internet.

22

23   1
      The URL at issue is https://www.facebook.com/TheSatanicTempleWashington/”) (bolded portion is the
     post-domain path at issue).
24
     2
       “The Court may take judicial notice of a fact, such as the role of ICANN, which is not subject to ‘reasonable
25   dispute because it: (1) is generally known within the trial court's territorial jurisdiction; or (2) can be
     accurately and readily determined from sources whose accuracy cannot reasonably be questioned.’” Vizer v.
26   VIZERNEWS.COM, 869 F. Supp. 2d 75, 77 n.3 (D.D.C. 2012) (citing Fed. R. Evid. 201(b) and United States
     v. Philip Morris USA, Inc., No. 99-2496, 2004 WL 5355971, at *1-*2 (D.D.C., Aug. 2, 2004)).


     OPPOSITION TO MOTION
     FOR RECONSIDERATION
     No. 2:20-cv-00509-RAJ – Page 3
          Case 2:20-cv-00509-RAJ Document 23 Filed 03/29/21 Page 5 of 14



 1   Id. at 78 (citing Balsam v. Tucows Inc., 627 F.3d 1158, 1159 (9th Cir. 2010); Domain Name

 2   System, National Telecommunications & Information Administration, U.S. Department of

 3   Commerce, http://www.ntia.doc. gov/category/domain-name-system (describing the

 4   domain name system and ICANN)).

 5          ICANN itself is not a registrar. Instead, it coordinates the DNS by entering into

 6   Registry Agreements with Internet registries. Id. Each top-level domain name—such as

 7   .com, .net, or .org—is operated by one of the authorized registries that maintains

 8   information on each registered domain name and ensures that each name registered in its

 9   domain is unique. Registries also offer a variety of services, such as permitting consumers

10   to check if a particular name within its domain has been registered and, if so, the expiration

11   date for this registration. Id. For example, Verisign, Inc. (“Verisign”) is the registry for

12   “.com” and “.net” domains and is responsible for registering names on these domains in

13   accordance with its Registry Agreement with ICANN. Because Verisign is prohibited from

14   accepting requests for domain names directly from consumers, Verisign only accepts and

15   registers domain names received from registrars. Id.; Dotster, Inc. v. ICANN, 296 F. Supp.

16   2d 1159, 1160 (C.D. Cal. 2003); Vizer, 869 F. Supp. 2d at 78 (citing What Does ICANN

17   Do?, ICANN, http://www.icann.org/en/about/participate/what); see also Office Depot, Inc.

18   v. Zuccarini, 596 F.3d 696, 699 (9th Cir. 2010).

19          The Satanic Temple argues that Facebook, in its role as a social media company,

20   should be considered an “other domain name registration authority” under Section 1127

21   because Facebook users register their Facebook accounts with Facebook. Motion for

22   Reconsideration at 2. This argument fails to acknowledge or understand that a registration

23   authority means something very specific in the DNS industry: it is a registry under a

24   Registry Agreement with ICANN or an authorized registrar for that registry that registers

25   domain names with the registry. The Satanic Temple has alleged no facts that Facebook, as

26   a social media provider, operates as an authorized DNS registration authority, i.e., that



     OPPOSITION TO MOTION
     FOR RECONSIDERATION
     No. 2:20-cv-00509-RAJ – Page 4
          Case 2:20-cv-00509-RAJ Document 23 Filed 03/29/21 Page 6 of 14



 1   Facebook has entered a Registry Agreement with ICANN or that it registers domain names

 2   with an authorized DNS registry, much less that it has registered the particular URL at issue

 3   here. The fact that Facebook’s users register their Facebook accounts with Facebook is

 4   irrelevant—that has nothing to do with the registration of domain names under the DNS

 5   process overseen by ICANN.

 6          In other words, without any supporting authority, The Satanic Temple is proposing

 7   an entirely new and different system from the DNS, whereby social media companies who

 8   do not provide any of the authorized DNS services—but instead provide social media

 9   accounts to their users—should somehow be considered “domain name registration

10   authorities” under the ACPA. This proposition is entirely unsupported. Indeed, the ACPA’s

11   legislative history underscores that the plain language of the definition of domain name in

12   15 U.S.C. § 1127 refers only to authorized DNS registries who register second-level

13   domain names. ACPA co-sponsor Senator Patrick Leahy’s comments on the bill are

14   illuminating:

15          Domain names are narrowly defined to mean alphanumeric designations
16          registered with or assigned by domain name registrars or registries, or
            other domain name registration authority as part of an electronic address
17          on the Internet. Since registrars only register second level domain names,
            this definition effectively excludes file names, screen names, and e-mail
18          addresses and, under current registration practice, applies only to second
            level domain names.
19

20          The terms “domain name registrar, domain name registry, or other
            domain name authority that registered or assigned the domain name” in
21          Section 3002(a) of the Act, amending 15 U.S.C. 1125(d)(2)(a), is intended
            to refer only to those entities that actually place the name in a registry, or
22          that operate the registry, and would not extend to other entities such as the
            ICANN or any of its constituent units, that have some oversight or
23
            contractual relationship with such registrars and registries. Only these
24          entities that actually offer the challenged name, placed it in a registry, or
            operate the relevant registry are intended to be covered by those terms.
25

26



     OPPOSITION TO MOTION
     FOR RECONSIDERATION
     No. 2:20-cv-00509-RAJ – Page 5
           Case 2:20-cv-00509-RAJ Document 23 Filed 03/29/21 Page 7 of 14



 1   145 Cong. Rec. 14986, 15025 (1999) (emphasis added) (p. 15025 is attached as Exhibit 1

 2   for the Court’s convenience).

 3           If The Satanic Temple’s proposal to expand the ACPA to social media companies

 4   were accepted, the ACPA would suddenly expand well beyond the DNS and registered

 5   domain names and would apply to potentially billions 3 of social media accounts that are not

 6   registered with the DNS. Such a vast shift in the scope of the ACPA should be left to

 7   Congress, not the courts.

 8           3. The Satanic Temple Failed to Plead an Essential Element of an ACPA
                Claim.
 9

10           Even if this Court accepts The Satanic Temple’s re-writing of the ACPA, which it

11   should not, the Court must dismiss its ACPA claim because it has failed to plead an

12   essential element of such a claim, i.e., that Defendants had a bad faith intent to profit from

13   their use of the Facebook page. See Motion at 12-13; Reply at 9-10.

14       B. The Court Properly Dismissed The Satanic Temple’s Defamation Claim.

15           The Satanic Temple’s motion is devoid of grounds for reconsideration of dismissal

16   of its defamation claim. The Satanic Temple appears to argue that the doctrine of

17   ecclesiastical abstention means the Court should turn its civil judicial decision-making role

18   over to the church and allow the church to decide if the statements at issue are defamatory.

19   Motion for Reconsideration at 5-6 (“As the Court found, the defamation claim will require a

20   showing that TST does not promote, e.g., fascism. If that is an unavoidable question of

21   TST’s doctrine, then well-settled law binds the Court to TST’s position.”). This is an

22   incorrect statement of the law. As the case cited by The Satanic Temple explains, the

23   doctrine of ecclesiastical abstention only requires a court to defer to a church’s decision if

24   the plaintiff is challenging an internal decision by the church’s tribunal implementing

25

26   3
      The Court may take judicial notice that Facebook alone has over three billion users.
     https://about.fb.com/company-info/


     OPPOSITION TO MOTION
     FOR RECONSIDERATION
     No. 2:20-cv-00509-RAJ – Page 6
          Case 2:20-cv-00509-RAJ Document 23 Filed 03/29/21 Page 8 of 14



 1   church rules. Paul v. Watchtower Bible & Tract Soc. of New York, Inc., 819 F.2d 875, 878

 2   n.1 (9th Cir. 1987) (“Ecclesiastical abstention thus provides that civil courts may not

 3   redetermine the correctness of an interpretation of canonical text or some decision relating

 4   to government of the religious polity. Rather, we must accept as a given whatever the entity

 5   decides.”); see also Serbian E. Orthodox Diocese for U.S. of Am. & Canada v. Milivojevich,

 6   426 U.S. 696, 724-25, 96 S. Ct. 2372, 2387-88, 49 L. Ed. 2d 151 (1976) (“[T]he First and

 7   Fourteenth Amendments permit hierarchical religious organizations to establish their own

 8   rules and regulations for internal discipline and government, and to create tribunals for

 9   adjudicating disputes over these matters. When this choice is exercised and ecclesiastical

10   tribunals are created to decide disputes over the government and direction of subordinate

11   bodies, the Constitution requires that civil courts accept their decisions as binding upon

12   them.”).

13          This case, however, does not involve a plaintiff who is challenging a church

14   tribunal’s application of its own rules or governing system. Instead, the plaintiff, The

15   Satanic Temple, has brought a civil action against its former members, alleging that they

16   made defamatory statements regarding The Satanic Temple’s beliefs and practices. The

17   Satanic Temple cites no case suggesting that the Court must defer to The Satanic Temple to

18   decide its own civil defamation claim against Defendants. To the contrary, as the Court

19   correctly found, in the context of a civil defamation claim involving a church’s practices or

20   beliefs, the doctrine of ecclesiastical abstention requires the Court to dismiss the claim. See

21   Order at 18-19; see also, e.g., Hartwig v. Albertus Magnus Coll., 93 F. Supp. 2d 200, 219

22   (D. Conn. 2000) (dismissing defamation claim where review of the claim would require the

23   court to delve into and weigh competing views of church doctrine).

24          The Satanic Temple also contradicts its own argument. On one hand it argues that

25   because the defamation claim involves church doctrine, it asks the Court to defer to The

26   Satanic Temple to decide if the statement at issue is defamatory. Yet, immediately after this



     OPPOSITION TO MOTION
     FOR RECONSIDERATION
     No. 2:20-cv-00509-RAJ – Page 7
          Case 2:20-cv-00509-RAJ Document 23 Filed 03/29/21 Page 9 of 14



 1   argument The Satanic Temple offers the same conclusory argument that it made in its

 2   Opposition to Defendants’ Motion to Dismiss that “TST’s doctrine is not really at issue.”

 3   Motion for Reconsideration at 6. In addition to being inconsistent, the Court has already

 4   addressed and rejected this exact argument. Order at 18. In violation of LCR 7(h)(1) The

 5   Satanic Temple simply rehashes the same argument it already made.

 6          The Court’s ruling was correct. The defamation claim asserts that certain

 7   Defendants “falsely ascrib[ed] extremist ideologies and affiliations to T[he Satanic

 8   Temple].” Order at 17 (quoting Complaint ¶ 92). The ideologies include ableism,

 9   misogyny, racism, transphobia, and endorsement of police brutality, and the affiliations

10   include Neo-Nazis and the alt-right. Id. at 17-18 (citing Complaint ¶ 36 & Ex. 5 at 2). The

11   Court correctly found that to determine if the statements were defamatory, the Court or jury

12   must necessarily determine if they were false. Id. (citing Herron v. KING Broad. Co., 776

13   P.2d 98, 101 (Wash. 1989); Hyung Jin Moon v. Hak Ja Han Moon, 431 F. Supp. 3d 394,

14   413 (S.D.N.Y. 2019), aff’d, 833 F.App’x 876 (2d Cir. 2020); Kavanagh v. Zwilling, 997

15   F. Supp. 2d 241, 250 (S.D.N.Y.), aff’d, 578 F. App’x 24 (2d Cir. 2014)). The Satanic

16   Temple does not dispute (or even address) that as an element of a defamation claim the

17   Court would have to decide the truth or falsity of the statements. The Satanic Temple also

18   does not dispute (or discuss) that a determination as to whether the statements were false

19   necessarily would require the Court or jury to define the beliefs held by The Satanic Temple

20   and to determine that ableism, misogyny, racism, fascism, and transphobia fall outside of

21   those beliefs. Order at 18. Instead, without any analysis, The Satanic Temple merely offers

22   the conclusory assertion that The Satanic Temple’s doctrine “is not really at issue.”

23                                         III.    CONCLUSION
24          For the foregoing reasons, The Satanic Temple’s Motion for Reconsideration should

25   be denied.

26



     OPPOSITION TO MOTION
     FOR RECONSIDERATION
     No. 2:20-cv-00509-RAJ – Page 8
         Case 2:20-cv-00509-RAJ Document 23 Filed 03/29/21 Page 10 of 14



 1   DATED: March 29, 2021.
                                        ARETE LAW GROUP PLLC
 2

 3                                      By: /s/ Jeremy E. Roller
                                        Jeremy E. Roller, WSBA No. 32021
 4                                      1218 Third Avenue, Suite 2100
                                        Seattle, WA 98101
 5                                      Phone: (206) 428-3250
                                        Fax: (206) 428-3251
 6                                      jroller@aretelaw.com
 7
                                        Attorneys for Defendants David Alan Johnson,
 8                                      Leah Fishbaugh, Mickey Meehan, and Nathan
                                        Sullivan
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26



     OPPOSITION TO MOTION
     FOR RECONSIDERATION
     No. 2:20-cv-00509-RAJ – Page 9
          Case 2:20-cv-00509-RAJ Document 23 Filed 03/29/21 Page 11 of 14



 1                                  CERTIFICATE OF SERVICE

 2          I, Janet Fischer, certify that on March 29, 2021, I electronically filed the foregoing

 3   document with the Clerk of the Court using the CM/ECF system, thereby sending a

 4   notification of such filing to the following parties:

 5          Benjamin Justus, WSBA No. 38855
 6          LYBECK PEDREIRA & JUSTUS, PLLC
            Chase Bank Building
 7          7900 SE 28th Street, Fifth Floor
            Mercer Island, WA 98040
 8          (206) 687-7805
            ben@lpjustus.com
 9

10
     DATED: March 29, 2021, at Seattle, Washington.
11

12                                                  /s/ Janet Fischer
                                                    Janet Fischer, Legal Assistant
13

14

15

16

17

18

19

20

21

22

23

24

25

26



     OPPOSITION TO MOTION
     FOR RECONSIDERATION
     No. 2:20-cv-00509-RAJ – Page 10
Case 2:20-cv-00509-RAJ Document 23 Filed 03/29/21 Page 12 of 14




                   EXHIBIT 1
                                                                                           Case 2:20-cv-00509-RAJ Document 23 Filed 03/29/21 Page 13 of 14



                                                                                                  Congressional Record
                                                      E PL
                                                             UR                       M
                                                                  IB             NU
                                                                     U




                                                                             U
                                                                     S




                                                                                                                                                                         106 th CONGRESS, FIRST SESSION
                                                   United States
                                                    of America                                     PROCEEDINGS AND DEBATES OF THE


                                                 Vol. 145                                                      WASHINGTON, FRIDAY, NOVEMBER 19, 1999                                                               No. 165


                                                                                                                                         Senate
                                                                                                                              REVISED NOTICE—NOVEMBER 17, 1999
                                                       If the 106th Congress, 1st Session, adjourns sine die on or before November 18, 1999, a final issue of the Congressional
                                                  Record for the 106th Congress, 1st Session, will be published on December 3, 1999, in order to permit Members to revise
                                                  and extend their remarks.
                                                       All material for insertion must be signed by the Member and delivered to the respective offices of the Official Reporters of
                                                  Debates (Room HT–60 or S–123 of the Capitol), Monday through Friday, between the hours of 10:00 a.m. and 3:00 p.m.
                                                  through December 1. The final issue will be dated December 3, 1999, and will be delivered on Monday, December 6, 1999.
                                                       If the 106th Congress does not adjourn until a later date in 1999, the final issue will be printed at a date to be an-
                                                  nounced.
                                                       None of the material printed in the final issue of the Congressional Record may contain subject matter, or relate to any
                                                  event that occurred after the sine die date.
                                                       Senators’ statements should also be submitted electronically, either on a disk to accompany the signed statement, or by
                                                  e-mail to the Official Reporters of Debates at ‘‘Records@Reporters’’.
                                                       Members of the House of Representatives’ statements may also be submitted electronically by e-mail or disk, to accom-
                                                  pany the signed statement, and formatted according to the instructions for the Extensions of Remarks template at http://
                                                  clerkhouse.house.gov. The Official Reporters will transmit to GPO the template formatted electronic file only after receipt of,
                                                  and authentication with, the hard copy, signed manuscript. Deliver statements (and template formatted disks, in lieu of e-mail)
                                                  to the Official Reporters in Room HT–60.
                                                       Members of Congress desiring to purchase reprints of material submitted for inclusion in the Congressional Record may
                                                  do so by contacting the Congressional Printing Management Division, at the Government Printing Office, on 512–0224, be-
                                                  tween the hours of 8:00 a.m. and 4:00 p.m. daily.
                                                       By order of the Joint Committee on Printing.
                                                                                                                               WILLIAM M. THOMAS, Chairman.




                                                                                                                                                 NOTICE
                                                         Effective January 1, 2000, the subscription price of the Congressional Record will be $357 per year, or $179 for 6
                                                   months. Individual issues may be purchased for $3.00 per copy. The cost for the microfiche edition will remain $141 per
                                                   year; single copies will remain $1.50 per issue. This price increase is necessary based upon the cost of printing and distribu-
                                                   tion.
                                                                                                                                  MICHAEL F. DiMARIO, Public Printer.
mmaher on DSKCGSP4G1 with SOCIALSECURITY




                                                                         ∑ This ‘‘bullet’’ symbol identifies statements or insertions which are not spoken by a Member of the Senate on the floor.

                                                                                                                                                                                                          S14895


                                                                                                                 .

                                           VerDate Mar 15 2010                        22:05 Nov 01, 2013   Jkt 081600   PO 00000   Frm 00001   Fmt 0624   Sfmt 8633   E:\1999SENATE\S19NO9.PT2   S19NO9
                                                                      Case 2:20-cv-00509-RAJ Document 23 Filed 03/29/21 Page 14 of 14
                                                 November 19, 1999                   CONGRESSIONAL RECORD — SENATE                                                                                S15025
                                                 and child poisoner created by the                       did not compete with the trademark                      (i) the trademark or the intellectual
                                                 movie.                                                  owner would not be a bar to recovery.                 property rights of the domain name
                                                   There is a world of difference be-                    This legislation also makes clear that                registrant in the domain name;
                                                 tween these sorts of sites and those                    personal names that are protected as                    (ii) whether the domain name is the
                                                 which use deceptive naming practices                    marks would also be covered by new                    legal name or the nickname of the reg-
                                                 to draw attention to their site for ex-                 section 1125.                                         istrant;
                                                 ample, whitehouse.com, or those who                       Furthermore, this legislation should                  (iii) the prior use by the registrant of
                                                 use domain names to misrepresent the                    not in any way frustrate the global ef-               the domain name in connection with
                                                 goods or services they offer, for in-                   forts already underway to develop inex-               the bona fide offering of any goods or
                                                 stance, dellmemory.com, which may be                    pensive and expeditious procedures for                services;
                                                 confused with the Dell computer com-                    resolving domain name disputes that                     (iv) the registrant’s legitimate non-
                                                 pany.                                                   avoid costly and time-consuming liti-                 commercial or fair use of the mark at
                                                   We must also recognize certain tech-                  gation in the court systems either here               the site accessible under the domain
                                                 nological realities. For example, mere-                 or abroad. In fact, the legislation ex-               name;
                                                 ly mentioning a trademark is not a                      pressly provides liability limitations                  (v) the registrant’s intent to divert
                                                 problem. Posting a speech that men-                     for domain name registrars, registries                consumers from the mark owner’s on-
                                                 tions AOL on my web page and calling                    or other domain name registration au-                 line location in a manner that could
                                                 the page aol.html, confuses no one be-                  thorities when they take actions pur-                 harm the mark’s goodwill, either for
                                                 tween my page and America Online’s                      suant to a reasonable policy prohib-                  commercial gain or with the intent to
                                                 site. Likewise, we must recognize that                  iting the registration of domain names                tarnish or disparage the mark, by cre-
                                                 while the Web is a key part of the                      that are identical or confusingly simi-               ating a likelihood of confusion as to
                                                 Internet, it is not the only part. We                   lar to another’s trademark or dilutive                the source, sponsorship, affiliation or
                                                 simply do not want to pass legislation                  of a famous trademark. The ICANN and                  endorsement of the site;
                                                 that may impose liability on Internet                   WIPO consideration of these issues will                 (vi) the registrant’s offer to sell the
                                                 users with e-mail addresses, which may                  inform the development by domain                      domain name for financial gain with-
                                                 contain a trademarked name. Nor do                      name registrars and registries of such                out having used, or having an intent to
                                                 we want to crack down on newsgroups                     reasonable policies.                                  use, the domain name in the bona fide
                                                 that use trademarks descriptively,                        Uses of infringing domain names that                offering of goods or services or the reg-
                                                 such as alt.comics.batman.                              support liability under the legislation               istrant’s prior conduct indicating a
                                                   In short, it is important that we dis-                are expressly limited to uses by the do-              pattern of such conduct;
                                                 tinguish between the legitimate and il-                 main name registrant or the reg-                        (vii) the registrant’s intentional pro-
                                                 legitimate use of domain names, and                     istrant’s authorized licensee. This limi-             vision of material, false and misleading
                                                 the cybersquatting legislation that we                  tation makes clear that ‘‘uses’’ of do-               contact information when applying for
                                                 pass today does just that.                              main names by persons other than the                  the registration of the domain name,
                                                   Due to the significant flaws in S.                    domain name registrant for purposes                   intentions, failure to maintain accu-
                                                 1255, the Senate Judiciary Committee                    such as hypertext linking, directory                  rate information, or prior conduct indi-
                                                 reported and the Senate passed a com-                   publishing, or for search engines, are                cating a pattern of such conduct;
                                                 plete substitute to that bill. On July                                                                          (viii) the registrant’s registration of
                                                                                                         not covered by the prohibition.
                                                 29, 1999, Senator HATCH and I, along                      Other significant sections of this leg-             multiple domain names that are iden-
                                                 with several other Senators, intro-                     islation are discussed below:                         tical or similar to or dilutive of an-
                                                 duced S. 1461, the ‘‘Domain Name Pi-                      Domain names are narrowly defined                   other’s trademark; and
                                                 racy Prevention Act of 1999.’’ This bill                to mean alphanumeric designations                       (ix) the extent to which the mark is
                                                 then provided the text of the Hatch-                    registered with or assigned by domain                 or is not distinctive.
                                                                                                                                                                 Significantly, the legislation ex-
                                                 Leahy substitute amendment that the                     name registrars or registries, or other
                                                                                                                                                               pressly states that bad faith shall not
                                                 Senate Judiciary Committee reported                     domain name registration authority as
                                                                                                                                                               be found ‘‘in any case in which the
                                                 unanimously to S. 1255 the same day.                    part of an electronic address on the
                                                                                                                                                               count determines that the person be-
                                                 This substitute amendment, with three                   Internet. Since registrars only register
                                                                                                                                                               lieved and had reasonable grounds to
                                                 additional refinements contained in a                   second level domain names, this defini-
                                                                                                                                                               believe that the case of the domain
                                                 Hatch-Leahy clarifying amendment,                       tion effectively excludes file names,
                                                                                                                                                               name was a false use or otherwise law-
                                                 was passed by the Senate on August 5,                   screen names, and e-mail addresses
                                                                                                                                                               ful.’’ In other words, good faith, inno-
                                                 1999.                                                   and, under current registration prac-
                                                   This Hatch-Leahy substitute pro-                                                                            cent or negligent uses of a domain
                                                                                                         tice, applies only to second level do-
                                                 vided a better solution than the origi-                                                                       name that is identical or confusingly
                                                                                                         main names.
                                                 nal, S. 1255, in addressing the                           The terms ‘‘domain name registrar,                  similar to another’s mark or dilutive of
                                                 cybersquatting problem without jeop-                    domain name registry, or other domain                 a famous mark are not covered by the
                                                 ardizing other important online rights                  name authority that registered or as-                 legislation’s prohibition.
                                                                                                                                                                 In short, registering a domain name
                                                 and interests.                                          signed the domain name’’ in Section
                                                                                                                                                               while unaware that the name is an-
                                                   Following Senate passage of the bill,                 3002(a) of the Act, amending 15 U.S.C.
                                                                                                                                                               other’s trademark would not be action-
                                                 the House passed a version of the legis-                1125(d)(2)(a), is intended to refer only to
                                                                                                                                                               able. Nor would the use of a domain
                                                 lation, H.R. 3208, the ‘‘Trademark                      those entities that actually place the
                                                                                                                                                               name that contains a trademark for
                                                 Cyberprivacy Prevention Act’’, which                    name in a registry, or that operate the
                                                                                                                                                               purposes of protest, complaint, parody
                                                 has been modified for inclusion in the                  registry, and would not extend to other
                                                                                                                                                               or commentary satisfy the requisite
                                                 FY 2000 Omnibus Appropriations bill.                    entities, such as the ICANN or any of
                                                   This legislation, now called the                                                                            scienter requirement.
                                                                                                         its constituent units, that have some
                                                                                                                                                                 Bad-faith intent to profit is required
                                                 ‘‘Anti-Cybersquatting Consumer Pro-                     oversight or contractual relationship
                                                                                                                                                               for a violation to occur. This require-
                                                 tection Act’’, would amend section 43                   with such registrars and registries.
                                                                                                                                                               ment of bad-faith intent to profit is
                                                 of the Trademark Act by adding a new                    Only these entities that actually offer
                                                                                                                                                               critical since, as Professor Litman
                                                 section to make liable for actual or                    the challenged name, placed it in a reg-
                                                                                                                                                               pointed out in her testimony, our
                                                 statutory damages any domain name                       istry, or operate the relevant registry
                                                                                                                                                               trademark laws permit multiple busi-
                                                 registrant, who with bad-faith intent                   are intended to be covered by those
mmaher on DSKCGSP4G1 with SOCIALSECURITY




                                                                                                                                                               nesses to register the same trademark
                                                 to profit from the goodwill of another’s                terms.
                                                                                                                                                               for different classes of products. Thus,
                                                 trademark, without regard to the                          Liability for registering a trademark
                                                                                                                                                               she explains:
                                                 goods or services of the parties, reg-                  name as a domain name requires ‘‘bad
                                                                                                                                                                 Although courts have been quick to impose
                                                 isters, traffics in or uses a domain                    faith intent to profit from that mark’’.
                                                                                                                                                               liability for bad faith registration, they have
                                                 name that is identical or confusingly                   The following non-exclusive list of nine              been far more cautious in disputes involving
                                                 similar to a distinctive trademark or                   factors are enumerated for courts to                  a domain name registrant who has a legiti-
                                                 dilutive of a famous trademark. The                     consider in determining whether such                  mate claim to use a domain name and reg-
                                                 fact that the domain name registrant                    bad faith intent to profit is proven:                 istered it in good faith. In a number of cases,




                                           VerDate Mar 15 2010   22:05 Nov 01, 2013   Jkt 081600   PO 00000   Frm 00131   Fmt 0624   Sfmt 0634   E:\1999SENATE\S19NO9.PT2   S19NO9
